          Case
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 1   SAO
     ROBERT M. DRASKOVICH, ESQ.
 2   Nevada Bar No. 6275
     TURCO & DRASKOVICH, LLP
 3   815 S. Casino Center Boulevard
     Las Vegas, Nevada 89101
 4   Telephone: (702) 474-4222
     Attorney for Defendant
 5

 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8
     UNITED STATES OF AMERICA,                              CASE NO.: 2:17-CR-00297-APG-NJK
 9
                             Plaintiff,
10
     vs.                                                     STIPULATION AND ORDER
11   ROGER HERNANDEZ aka
     Keyden Alvarez,
12
                             Defendant.
13

14           IT IS HEREBY STIPULATED AND AGREED by and between ROBERT M.

15   DRASKOVICH, ESQ., counsel for Defendant ROGER HERNANDEZ aka Keyden Alvarez,

16   and ROBERT KNIEF, Assistant United States Attorney, counsel for Plaintiff, that Defendant is
     authorized to travel to Tampa Bay, Florida and Orlando, Florida from August 9, 2018 through
17
     August 15, 2018 to visit his family and take his daughter to Disneyworld.
18
             IT IS FURTHER STIPULATED AND AGREED that Defendant shall provide U.S.
19   Pretrial Services with his itinerary prior to traveling.
20           DATED this 6th day of August, 2018.

21           /s/ Robert M. Draskovich                           /s/ Robert Knief
             _______________________________                    _________________________________
22           ROBERT M. DRASKOVICH, ESQ.                          ROBERT KNIEF, ESQ.
             Nevada Bar No. 6275                                 Assistant United States Attorney
             815 S. Casino Center Boulevard                      333 Las Vegas Boulevard South #5000
23           Las Vegas, Nevada 89101                             Las Vegas, Nevada 89101
             Attorney for Defendant                              Attorney for Plaintiff
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 1
                                                 ORDER
 2
            Upon stipulation of counsel and good cause appearing therefor,
 3
            IT IS HEREBY ORDERED that Defendant is authorized to travel to Tampa Bay,
 4
     Florida and Orlando, Florida from August 9, 2018 through August 15, 2018 to visit his family
 5   and take his daughter to Disneyworld.

 6          IT IS FURTHER STIPULATED AND AGREED that Defendant shall provide U.S.
     Pretrial Services with his itinerary prior to traveling.
                                          no later   than August 7, 2018.
 7

 8
                                6th day of ___________________,
            DATED AND DONE this _____       August              2018.
 9

10                                                      __________________________________
                                                        UNITED STATES DISTRICT JUDGE
                                                     _________________________________
11                                                   NANCY J. KOPPE
     Respectfully Submitted By:                      UNITED STATES MAGISTRATE JUDGE
12
     /s/ Robert M. Draskovich
13   __________________________
     Robert M. Draskovich, Esq.
14   Nevada Bar No. 6275
     Attorney for Defendant
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